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16                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
17                                   SAN JOSE DIVISION

18

19    STERLING INTERNATIONAL CONSULTING                     Case No.: 20-CV-9321
      GROUP, on behalf of itself and all others similarly
20    situated,                                             CLASS ACTION COMPLAINT

21                          Plaintiff,
                                                            JURY TRIAL DEMANDED
22           v.

23    GOOGLE LLC,

24                          Defendant.

25

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 1           Sterling International Consulting Group (“Plaintiﬀ”) files this action on behalf of itself and as a

 2   class action on behalf of all others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil

 3   Procedure, against Defendant Google LLC (“Google” or “Defendant”). Plaintiﬀ seeks treble damages

 4   and injunctive relief for Defendant’s violations of Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§1, 2.

 5   Plaintiﬀ complains and alleges as follows based on: (a) its personal knowledge; (b) the investigation of

 6   Plaintiﬀ’s counsel; and (c) information and belief.

 7      I.        NATURE OF ACTION AND SUMMARY

 8           1.         is is a civil antitrust action under Sections 1 and 2 of the Sherman Act for treble

 9   damages and other relief arising out of Google’s overarching anticompetitive scheme (the “Scheme”) to

10   capture a dominant share of the revenues associated with services required to place open-web display

11   ads. Specifically, Google has obtained and maintained a monopoly in the market for providing publisher

12   ad server services (the “Publisher Ad Server Market”), and has used that power to artificially inflate its

13   prices charged to “Publishers.”

14           2.      Plaintiﬀ is a “Publisher”: Plaintiﬀ operates a website on which it sells space to advertisers

15   to place digital display ads.

16           3.      To sell its ad space, Plaintiﬀ directly purchases publisher ad server services from Google.

17   Publisher ad servers identify ad space that gets created when users load Publishers’ webpages, and then

18   solicit and organize bids from various sources of advertiser demand to fill the space. Publisher ad server

19   providers receive compensation in a form of a cut of the payments advertisers make for their ads to

20   appear in Publishers’ webpages.

21           4.      Plaintiﬀ, like other purchasers of Google’s publisher ad server services, depends on

22   Google to solicit and organize bids from advertisers for its website’s ad inventory.

23           5.      When users generate ad inventory on Publishers’ sites by loading the page, this sets oﬀ a

24   series of processes in what is known as the “Ad Tech Stack.”       e publisher ad server notifies demand

25   sources (e.g., “ad exchanges” or “ad networks” that run auctions between advertisers) of the existence of

26   ad space.     e demand sources provide bids from their participating advertisers to the publisher ad server.

27   Once the ad server identifies the winning bid, it obtains the winning advertisement from the advertiser’s

28

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 1   representatives in the Ad Tech Stack and places the ads.      e entire process typically takes less than a

 2   second.

 3           6.      Google controls the dominant services at each level of the Ad Tech Stack. Most

 4   importantly, Google controls (1) the dominant publisher ad server products, (2) the dominant ad

 5   exchange and ad network, and (3) the dominant advertiser ad server.

 6           7.      Google thus controls which ad inventory a dominant share of advertisers will bid on,

 7   which advertisers can participate in the most significant auctions (Google’s auctions), and how Publishers

 8   prioritize and compare diﬀerent demand sources (e.g., ad exchange auctions, ads sold directly by a

 9   Publisher to an advertiser, and other auction types) to identify the advertiser that ultimately “wins” the

10   right to place an ad in a particular ad slot.

11           8.        rough a series of anticompetitive acts beginning by at least 2007 and continuing

12   through the present (together, the “Scheme”), Google has illegally acquired, enhanced, and maintained

13   dominant positions in the Publisher Ad Server Market.

14           9.      First, Google engaged in a series of acquisitions designed to give it a significant market

15   presence at each level of the Ad Tech Stack. Most notably, Google acquired DoubleClick in 2007, a

16   company with the then-highest market share in the Publisher Ad Server Market.

17           10.     Second, Google engaged in exclusionary conduct designed to entrench its oﬀerings at

18   each level of the Ad Tech Stack and disadvantage actual and potential rivals. For example, in selling its

19   services to advertisers, Google ties its ad targeting and attribution data services to its advertiser-facing ad

20   tech services.1 Because these data services are critical to advertisers, Google was able to amass a

21   substantial pool of advertiser clients through the tying arrangement. Google then used its positions at
22   other levels of the Ad Tech Stack to control Publishers’ access to that pool of advertiser demand.
23   Specifically, Google required its advertisers to bid in Google-controlled auctions (through Google’s ad
24   exchange and/or ad network). Google then controlled how Publishers could access bids from Google-
25

26   1
      As set forth herein, Google’s data on users is unparalleled. Google gleans data from its consumer-facing
27   oﬀerings including, inter alia, its market-leading web browser (Chrome), its popular email service
     (Gmail), the Android operating system (“OS”) in use on hundreds of millions of mobile devices,
28   Google’s search data, and Google’s ad placement products.

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 1   controlled auctions, essentially requiring Publishers who wanted to receive bids from Google-controlled

 2   auctions to use a Google publisher ad server.    is conduct coerces Publishers to use Google’s publisher

 3   ad server products.

 4           11.       ird, as more and more Publishers adopted Google’s publisher ad server products,

 5   Google reinforced its control on the advertiser side of the Ad Tech Stack through similar conduct. In

 6   particular, Google gave its own demand sources (e.g., bids from its ad exchange) privileged access to

 7   Google’s Publisher-clients’ ad space through its control over a dominant share of Publishers’ ad servers.

 8   By disadvantaging bids from non-Google demand sources, advertisers who want to display ads on

 9   Google’s Publisher-clients must use Google’s advertiser-facing products.      e resulting increase in the

10   number of advertisers in Google’s pool of clients then further increases Publishers’ need to use Google ad

11   servers, further entrenching Google’s market dominance.

12           12.     Fourth, Google has taken a variety of measures to impair potential rivals’ ability to collect

13   user data and use such data to target advertisements. For example, Google has coerced Publishers to

14   create content for mobile users in a format known as “accelerated mobile pages” or “AMP” by

15   suppressing non-AMP content in Google Search results.        en, when Publishers oﬀer content in AMP

16   format, Google caches the AMP pages such that when a user attempts to navigate to the content from,

17   inter alia, Google Search results or the Google News app, Google serves the content from Google’s (and

18   not the Publisher’s) servers. As a result, Publishers (and any third-party tracker the Publishers engage)

19   cannot obtain data from their users that could later be used to target advertisements. Similarly, Google

20   has announced imminent changes to features of its popular Chrome web browser that will inhibit

21   potential rivals from collecting data through third-party cookies and/or DNS data.2
22           13.     Fifth, according to the complaint filed by the Texas Attorney General (and other state
23   attorneys general), Google made an unlawful agreement with its largest potential rival—Facebook, Inc.
24       rough the agreement the two advertising behemoths agreed to cooperate rather than compete. Such
25   conduct removed significant competitive pressure on Google.
26

27   2
      As discussed infra, third-party cookies and DNS data tracking are mechanisms that potential
28   competitors can use to amass data that would allow advertisers to target their advertisements without
     relying on Google’s data services.
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 1             14.       e absence of competition in the Publisher Ad Server Market caused by Google’s

 2   Scheme allows Google to charge Publishers supracompetitive prices for its publisher ad server services.

 3   Because Google’s Scheme has eﬀectively destroyed competition in the Publisher Ad Server Market,

 4   Publishers have no choice but to pay the supracompetitive prices—extracted as a percentage of their

 5   advertising revenue.

 6             15.     As alleged herein, Google’s conduct has had substantial anticompetitive eﬀects in the

 7   Publisher Ad Server Market and has harmed Plaintiﬀ and members of the Class. Plaintiﬀ and members of

 8   the proposed Class accordingly seek compensatory and injunctive relief for violations of the Sherman

 9   Act, 15 U.S.C. §§ 1, 2.

10       II.         JURISDICTION AND VENUE

11             16.     Plaintiﬀ brings this action under Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1, 2.
12             17.     Plaintiﬀ has been injured, and is likely to continue to be injured, as a direct result of
13   Defendant’s unlawful conduct alleged herein.
14             18.       e United States District Court for the Northern District of California has subject matter
15   jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1337(a), and Section 4 of the Clayton Act,
16   15 U.S.C. § 15(a)(2).
17             19.       e United States District Court for the Northern District of California also has subject
18   matter jurisdiction over this action pursuant to 28 U.S.C. § 1332(d).        e amount in controversy exceeds
19   $5,000,000 exclusive of interests and costs, and Plaintiﬀ and a significant proportion of the members of
20   the proposed Class are citizens of a state diﬀerent from Defendant.
21             20.     Venue is proper in this District under Sections 4 and 12 of the Clayton Act, 15 U.S.C.
22   §§ 15, 22. Google is headquartered in this District, its principal business operations are based in this
23   District, and the Scheme was formulated and carried out in this District. Venue also is proper pursuant to
24   28 U.S.C. § 1391 for the same reasons.
25             21.     Additionally, Plaintiﬀ and members of the proposed Class have contracts with Google
26   containing a forum selection clause.       e forum selection clause requires all claims between the parties to
27   be resolved “exclusively in the federal or state courts of Santa Clara County, California,” which includes
28   this District.

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 1       III.         PARTIES

 2              22.     Plaintiﬀ Sterling International Consulting Group is a Delaware Corporation with its

 3   principal place of business in Statesville, NC. Plaintiﬀ operates an ad-supported website that uses a

 4   Google publisher ad server to identify the creation of ad inventory, obtain bids from demand sources, and

 5   fill the ad space.

 6              23.     Defendant Google is a Delaware corporation with its principal place of business in

 7   Mountain View, California.

 8       IV.          DIGITAL DISPLAY ADVERTISING

 9              24.     Digital advertising has exploded in recent years. Worldwide digital advertising spending

10   was estimated to be $194.6 billion in 2016 and rose to $325 billion in 2019.

11              25.       e United States accounts for a substantial proportion of those revenue figures. In 2019,

12   for example, the United States accounted for approximately 40% of the global digital advertising

13   revenues.

14              26.     Digital advertising takes several complementary forms. For example, advertisements can

15   be targeted to consumers, inter alia, as text-based ads to appear with search engine query results (“search

16   ads”), as display ads appearing in-line in Publishers’ content such as blog posts or news articles (“display

17   ads”), or as ads in social media feeds.

18              27.     Advertisers purchase one format or another to serve their diﬀerent goals. For instance,

19   advertisers may purchase search ads to reach consumers actively looking to make a purchase by

20   searching for a particular product or company. By contrast, they may purchase display ads on a

21   Publisher’s site to increase brand awareness or to market a product to a user that put the product in his

22   shopping cart but did not complete the purchase.

23              28.     While search ads are targeted principally based on the search terms the user inputs into the

24   search engine, display ads are shown to each user who loads a webpage programmed to display

25   advertising.       us, data about the webpage user is critical to advertisers seeking to display their

26   advertisement to such user.

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 1             29.       Publishers, who operate websites and mobile applications, are necessarily restricted in the

 2   types of ad formats they can sell. A news website, for example, can generally sell display ads alongside

 3   its news articles but cannot generally sell search ads to monetize the same content.

 4                   A. How Digital Display Advertising Works

 5             30.       Publishers sell their ad inventory to advertisers either directly through their marketing

 6   departments or indirectly through programmatic ad auctions run by their publisher ad server and/or ad

 7   exchanges and ad networks.

 8             31.       Generally, only large Publishers have the means and/or incentive to sell advertisements

 9   directly to advertisers (so-called “direct-sold” ads) due to the need for internal staﬃng and general

10   advertiser demand for the Publishers’ ad inventory.

11             32.       Even those Publishers that sell ad space directly to advertisers cannot always predict how

12   many ad spaces they have available for direct-sold ads because the number of ad spaces is dependent on

13   the number of users who visit each Publisher’s website (as well as other factors specific to the Publishers’

14   deals with advertisers, e.g., specific criteria for users who would be targeted with the ads).       us, selling

15   inventory through programmatic ad auctions permits Publishers to sell their remnant inventory that either

16   does not qualify for their direct-sold deals or where the programmatic placement would fetch a higher

17   price than the direct-sold ad deals. Additionally, some Publishers sell the entirety of their inventory

18   indirectly through programmatic ad auctions.

19             33.       Programmatic ad auctions are run in various forms by ad exchange, ad networks, and ad

20   servers.        eir purpose is to determine which advertiser can place its ad in a particular ad slot created

21   when a user loads a Publisher’s webpage.

22             34.       Instead of advertisers placing an order for a fixed amount of impressions (i.e., user views)

23   from a Publisher as they would in direct-sold ads, each auction organizer (i.e., the ad exchange, ad server,

24   or ad network) auctions the ad slot between its participating advertisers in real time when the page is

25   loaded.     is process—in which a user loads a webpage, the auction organizer conducts the auction, and

26   the ad gets placed—occurs automatically (usually taking a few hundred milliseconds).

27             35.         e process involves several entities providing services in the “Ad Tech Stack.” On one

28   end of the Ad Tech Stack, the Publisher engages a publisher ad server.          e ad server can conduct its own

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 1   auctions and/or it can solicit bids from ad exchanges and/or ad networks, each of which serve as

 2   middlemen between Publishers and advertisers.

 3             36.       On the other end of the Ad Tech Stack, advertisers engage an advertiser ad server and a

 4   “demand side platform”3 or “DSP.”           e advertiser ad server performs the function of storing the
 5   advertisers’ ads, serving advertisers ads when the advertiser wins auctions, and tracks the advertiser’ ad

 6   campaign results.         e DSP manages advertisers’ programmatic ad buying.        e DSP essentially automates

 7   the process of bidding on advertisers’ behalf in ad auctions.

 8             37.         us, the Ad Tech Stack looks like this:

 9

10       Publisher
                              Publisher Ad    Ad Exchange/Ad        Demand Side     Advertiser Ad
                                                                                                       Advertiser
                                Server            Network             Platform         Server
11

12   Figure 1: The Ad Tech Stack

13             38.         e Publisher- and advertiser-facing services in the Ad Tech Stack are not always fully
14   interoperable, meaning that ad tech service providers control the extent to which other service providers’
15   clients (Publishers or advertisers) can transact with each other.
16             39.       As one relevant example, Google has not allowed Publishers who are not customers of
17   Google’s ad tech services on the supply side4 to access Google’s auctions to obtain real-time bids from
18   Google’s pool of advertisers on the demand side.
19             40.       As a result of this interoperability issue, Publishers (and advertisers) consider the demand
20   (supply) that their publisher ad server (advertiser ad server and/or DSP) can access. In other words, a key
21   consideration for Publishers in selecting an ad server is what demand (and on what terms) the ad server
22   can solicit bids from diﬀerent demand sources; the more advertisers (who are expected to bid the most)
23   who participate in the auctions the ad server can access the better. Conversely, if a publisher ad server
24

25
     3
26     Publishers may also engage a platform (called a “supply side platform” or “SSP”) to work with ad
     exchanges. Google has collapsed many of these functions into single oﬀerings. As a result, there is
27   relatively little distinction between the function of a publisher ad server and a SSP today.
     4
28    Publishers are the “supply” side because they generate the “supply” of ad inventory. Advertisers are the
     “demand” side because they purchase the ability to place ads in Publishers’ ad inventory.
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 1   cannot access significant demand pools, the publisher ad server cannot compete eﬀectively in the market

 2   against Google’s publisher ad server products.

 3                 B.     e Importance of Data in Digital Advertising

 4           41.          e digital economy more broadly relies heavily on collecting, mining, analyzing, and

 5   monetizing data. Personal information collected by companies in the digital economy has become a

 6   substantial intangible asset used to create value, not unlike copyrights, patents, and goodwill.

 7           42.        Traditionally, advertising has relied on targeting methods. For example, when an

 8   advertiser wanted to market nationwide, the advertiser might purchase advertising space in nationally

 9   distributed newspapers and magazines (e.g., USA Today or Newsweek). As a result, newspapers,

10   magazines, and television stations tracked and kept detailed reader/viewer data.         eir marketing

11   departments (and/or contractors) would then work with advertisers (and/or their agents and contractors)

12   to provide information on the potential reach and targeting capability of advertising on the media.

13           43.        Digital advertising is not diﬀerent in its reliance on targeting. However, the availability of

14   data on users enable digital advertisers to target advertising with far more precision.

15           44.        Diﬀerent forms of digital advertising use diﬀerent types of data. For example, when an

16   advertiser markets to users of a search engine, the advertiser is using the user’s search terms to target

17   advertising. When seeking to use display advertisements, whether on a social network platform or on a

18   Publisher’s site, an advertiser can target users better with more personalized data about the individual

19   users. So, if an advertiser knows a particular person used the advertiser’s website and placed merchandise

20   in his or her shopping cart without purchasing the item, that advertiser may place significant value being

21   able to market that merchandise to that person as the person visits other websites. As another example, a

22   particular advertiser (whether a retailer, political campaign, or services provider, etc.) may know that

23   people with particular characteristics (e.g., with certain interests like sports, travel, etc., with certain

24   incomes or wealth, or located in a particular place) would be receptive to their marketing. To such

25   advertisers, data on who is receiving advertisements is a valuable and critical element to their advertising

26   campaigns.

27           45.        One company ran a trial in 2019 to compare the revenue Publishers in the United

28   Kingdom received from advertising benefiting from personalized data with revenue received from

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 1   advertising that did not use personalized data.     e results indicated that U.K. Publishers earned between

 2   50% and 65% less revenue when they were unable to sell personalized advertising but competed with

 3   others who could.

 4           46.      In digital advertising, a key input is data on consumers who would be targeted by a given

 5   advertisement.     e more targeted an ad, the more likely it is that users act upon it (e.g., click on the ad’s

 6   link), and therefore the higher the return on investment is.     us, advertisers are willing to (and do) bid far

 7   more when they have significant data on a user than when they have little or no data.

 8           47.      It is precisely because consumer data is the key input that Google and Facebook have

 9   emerged as the dominant players in the broader digital advertising sphere.        rough its data access,

10   Google dominates search advertising and the ad tech services that place advertising on Publishers’

11   websites. Google achieved its dominance in no small part because of its ability to collect particular types

12   of user data. Google’s control over consumer-facing products, e.g., Search, Android OS, Gmail, Maps,

13   YouTube, Chrome, and its ad tech services, provides Google with unmatched access to user data based

14   on what websites users view, what they search for, what emails they receive, where they go and how

15   often they go there, where they live, where they work, what videos they watch on YouTube, what apps

16   they use on their phone, and more.

17      V.         GOOGLE’S BUSINESS

18           48.      Google oﬀers myriad “free” services to consumers, such as Google Search, Google
19   Chrome, Google Maps, YouTube, and Android OS. While consumers do not compensate Google for
20   those services with money, consumers do allow Google to collect data from them relating to those
21   interactions. For example, Google’s Android OS provides Google with location data, Google Search
22   provides Google with data on what a particular user is looking for online, and YouTube provides Google
23   with data on user interests.
24           49.      Google uses the data gathered from consumers using these “free” services (as well as
25   other Google business lines, including its advertising services) to target advertisements displayed on
26   Publishers’ webpages, making billions of dollars a year in the process.
27           50.      Because of the data Google gleans from users of its “free” services, Google has a nearly
28   unparalleled ability to target advertisements to users. As a result, one of Google’s most significant

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 1   revenue streams comes from assisting Publishers in filling their ad inventory, a role Google complements

 2   with interrelated services throughout the Ad Tech Stack.

 3            51.        Google’s unparalleled access to user data has been a significant factor in Google’s

 4   domination of the digital display ad ecosystem with its oﬀerings at each level of the Ad Tech Stack.

 5   Google’s oﬀerings include services that work together to (1) identify advertising inventory when a user

 6   loads a Publisher’s content, (2) collect bids from advertisers interested in serving an ad to particular

 7   Publishers, (3) determine the winning advertiser, and (4) serve the ad—all of which happens in

 8   milliseconds.

 9      VI.         GOOGLE’S MARKET POWER IN THE PUBLISHER AD SERVER MARKET

10                  A.     e Relevant Market
11            52.          e Relevant Market is the market for publisher ad server services (the “Publisher Ad
12   Server Market” or the “Market”).
13            53.        Publishers are purchasers of services in the Publisher Ad Server Market. Companies, like
14   Google, who oﬀer publisher ad server products are sellers of services in the Market.
15            54.        Publisher ad servers are inventory management systems that Publishers use to holistically
16   manage their online display advertising inventory—the image-based graphical ads alongside web
17   content.       ey provide features such as: (1) reservation-based sales technology to support a Publisher’s
18   direct sales eﬀorts; (2) inventory forecasting technology to help a Publisher determine what inventory
19   will be available to sell; (3) a user interface through which a Publisher’s sales team can input directly
20   sold campaign requirements; (4) co-management of direct and indirect sales channels; (5) report
21   generation of ad inventory performance; (6) invoicing capabilities for a Publisher’s direct campaigns; and
22   (7) yield management technology.
23            55.          e relevant geographic market is the United States, or in the alternative, predominantly
24   English-speaking countries of the United States, Canada, the United Kingdom, and Australia. Publishers
25   seek out publisher ad server services based on the service provider’s ability to connect the Publisher with
26   advertisers that would seek to target the Publisher’s users. Because Publishers sell advertising space to
27   advertisers based on, inter alia, the location of the Publishers’ users, the geographic market’s scope is
28   determined by the Publishers’ targeted user geographies, here, the United States, or in the alternative,

                                                              10
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 1   predominantly English-speaking countries of the United States, Canada, the United Kingdom, and

 2   Australia. A publisher ad server that could not connect Publishers with a significant pool of advertisers

 3   seeking to target American (or alternatively, English-speaking) users could not generate auction returns

 4   that rivaled publisher ad servers that could deliver such advertiser demand.

 5                   B. Google Dominates the Relevant Market

 6             56.      However the geographic component is defined, Google has market power in the Publisher

 7   Ad Server Market.

 8
                                            Ad Exchange/Ad                  Demand Side Platform:      Advertiser Ad Server:
           Publisher Ad Server:
 9                                         Network: Google's                 Google's market share     Google's market share
         Google's market share is
                                         market share estimated             estimated to exceed 50‐   estimated to exceed 80‐
         estimated to be 90‐100%
10                                         to exceed 50‐60%                           60%                       90%

11
             Google Ad
12           Manager                                                            Display &                 Campaign
13
                                                                                Video 360                 Manager
                                               Google
               Google
14                                             Display
              AdSense
15                                             Network
16             Google                                                          Google Ads                Google Ads
17
               AdMob
18
     Figure 2: Google's Estimated Market Share at Each Level of the Ad Tech Stack
19

20             57.      Google has a dominant share of the Publisher Ad Server Market, likely exceeding 90% of
21   the market. Indeed, the United Kingdom’s Competition & Markets Authority (“CMA”) (the U.K.’s
22   antitrust authority) found that Google had between 90% and 100% of the Publisher Ad Server Market (as
23   measured by the money advertisers paid to place ads within U.K. Publishers’ content.5 Google holds
24   similar market shares in the Publisher Ad Server Market in each geographic market.
25

26
     5
27    See Online Platforms and Digital Advertising, Market Study Final Report (July 2020), available at
     https://assets.publishing.service.gov.uk/media/5fa557668fa8f5788db46efc/Final_report_Digital_ALT_TE
28   XT.pdf.

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 1           58.     Although the CMA’s market share analysis shows comparatively lower (but still quite

 2   high) market shares at the ad exchange/ad network and DSP levels of the Ad Tech Stack, the CMA’s

 3   method would tend to understate Google’s power at those levels of the Ad Tech Stack. Specifically, the

 4   CMA’s analysis looked at how much money advertisers spent and how much money Publishers received

 5   over a specific time period, and then determined how much of that overall revenue traveled through the

 6   Google properties throughout the Ad Tech Stack.     e analysis included, inter alia, direct-sold ads (i.e.,

 7   ads sold directly by Publishers to advertisers) that would show up as part of Google’s market shares at

 8   the ad server levels on either side of the Ad Tech Stack (because advertisers spent the money as recorded

 9   by their Google ad server, and Publishers received it and placed the ad through their Google ad server),

10   but not at the auction or DSP level because the direct-sold ads did not use DSPs’ automated bidding

11   services or participate in auctions. As a result, these direct-sold sums would suppress Google’s apparent

12   share of revenues at the auction and DSP levels of the Ad Tech Stack (as reflected in Figure 2) even

13   though no Google competitor would capture such revenue. In addition, as a general matter, advertisers

14   and Publishers generally use only one ad server each, but advertisers may use multiple DSPs and both

15   Publishers and advertisers may use multiple auction sources. Although that situation may reflect some

16   competition at the DSP and auction levels of the Ad Tech Stack, such competition is muted by the fact

17   that the Publishers and advertisers that use non-Google DSPs and auctions also tend to use Google’s

18   oﬀerings as well.

19           59.     Other than Google, the other sellers in the Publisher Ad Server Market are small and

20   fragmented. Indeed, since 2012, Google’s closest competitors have either exited the market entirely or

21   have been relegated to negligible market shares.

22           60.     Google’s market position in the Publisher Ad Server Market is protected by high barriers

23   to entry.

24           61.     First, Publishers who might look to switch ad server products face high switching costs

25   because these server products must be programmatically and technologically built into the Publishers’

26   operations.

27           62.     Second, any potential rival seeking to gain market share at Google’s expense must be able

28   to compete with Google in two key areas: (1) the ability to deliver comparable data targeting and

                                                         12
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 1   attribution services; and (2) a pool of advertiser demand that would participate in non-Google auctions

 2   and generate comparable revenue to Google’s auctions.

 3          63.        ese two elements are interrelated due to Google’s conduct. Google’s consumer-facing

 4   businesses (including, inter alia, Search, Gmail, YouTube, and Chrome), as well as its ad tech products

 5   collect significant user data that Google makes available to its advertiser-clients for targeting purposes.

 6   Advertisers who switch away from Google lose access to Google’s data targeting and attribution services,

 7   and no substitute service can match Google’s data oﬀerings. Because Google only allows Publishers who

 8   use Google’s publisher ad servers to have full access Google’s advertiser demand, other publisher ad

 9   server providers must supply access to comparable advertiser demand that can replace Google’s

10   advertiser demand for Publishers to switch. But, even if a potential rival publisher ad server provider

11   could connect Publishers to a suﬃciently large pool of advertiser demand, if those advertisers lacked data

12   comparable to Google’s oﬀerings, the rival’s pool of advertiser demand would tend to bid less—and thus

13   not be a true substitute for—Google’s advertisers.     us, Google’s pool of advertisers and data targeting

14   and attribution services impose high barriers to entry.

15          64.        ird, Google provides limited pricing information to Publishers.     us, even if there were
16   competing publisher ad server products for Publishers to switch to, those products would have significant
17   diﬃculty in demonstrating to Publishers that switching is worthwhile because Google makes direct price
18   comparisons nearly impossible.
19          65.        ese barriers inhibit entry and expansion by potential competitors in the Publisher Ad
20   Server Market, evidencing Google’s monopoly power in the Relevant Market.
21      VII.      GOOGLE’S ANTICOMPETITIVE SCHEME
22          66.     Google has engaged in a series of actions to acquire and maintain monopoly power in the
23   Publisher Ad Server Market including: (1) anticompetitive acquisitions at each level of the ad tech stack,
24   including in the Publisher Ad Server Market, (2) bundling and/or tying its advertiser-facing properties in
25   the ad tech stack to its data services to collect and control advertiser demand, (3) requiring Publishers
26   who seek access to Google’s pool of advertiser demand to use Google’s publisher ad server products, (4)
27   self-preferencing and/or steering ad placements through Google’s ad tech products, (5) using its market
28

                                                          13
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 1   power from other markets to impair actual or potential rivals from amassing data that could allow them to

 2   compete with Google, and (6) making an agreement with its biggest potential rival (Facebook, Inc.) to

 3   cooperate and not compete in the relevant market.

 4          67.      Google used this Scheme to achieve market dominance in the Publisher Ad Server

 5   Market.

 6                A. Google Engaged In A Series Of Acquisitions To Acquire A Foothold At Each Level Of
                       e Ad Tech Stack.
 7

 8          68.      Google commenced its Scheme to dominate the Ad Tech Stack with a series of

 9   acquisitions.

10          69.        e first and most significant such acquisition was Google’s 2007 purchase of

11   DoubleClick for $3.1 billion. Google purchased DoubleClick as a means of entering the markets for

12   providing services within the Ad Tech Stack. DoubleClick provided publisher ad server services and

13   operated the largest ad exchange.   e DoubleClick products formed the basis of Google’s ad tech

14   oﬀerings in ensuing years. As Google’s submission to the United States House of Representative’s

15   Subcommittee on Antitrust, Commercial and Administrative Law acknowledged, prior to the

16   DoubleClick acquisition, Google had “no meaningful presence” in the Ad Tech Stack. A July 2006

17   Google presentation suggested that, by acquiring DoubleClick, Google could obtain “self-reinforcing

18   benefits” for Google’s planned digital ad “ecosystem.”

19          70.        e Federal Trade Commission (“FTC”), as well as various foreign competition

20   authorities, reviewed the DoubleClick acquisition. Ultimately, the FTC approved the merger, concluding

21   that display advertising markets were “relatively nascent, dynamic and highly fragmented,” and the

22   DoubleClick acquisition did not threaten competition in the markets because other big companies

23   appeared “to be well positioned to compete vigorously against Google.”6 However, as the New York

24   Times recently reported, at least one of the FTC commissioners who voted to approve the merger has

25

26

27   6
      See Statement of Federal Trade Commission Concerning Google/DoubleClick, available at
28   https://www.ftc.gov/system/files/documents/public_statements/418081/071220googledc-commstmt.pdf.

                                                         14
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 1   since expressed his regrets. Specifically, William Kovacic told the New York Times, “If I knew in 2007

 2   what I know now, I would have voted to challenge the DoubleClick acquisition.”7
 3            71.     Indeed, when Google purchased DoubleClick, it told Congress and the FTC that it would

 4   not combine the data collected on internet users via DoubleClick with the data collected throughout

 5   Google’s ecosystem (e.g., through Gmail, Search, etc.). But in 2016, Google reversed that commitment

 6   and combined its datasets.

 7            72.     Google followed its DoubleClick acquisition with additional ad tech properties:

 8                    a.       In November 2009, Google acquired AdMob, a company with technology for

 9   serving ads in mobile apps. Google now uses AdMob technology to oﬀer publisher ad server services in

10   mobile apps.

11                    b.       In June 2010, Google acquired Invite Media, which oﬀered a media buying

12   optimization technology for display advertisers. Google now uses this technology as part of its DSP

13   oﬀerings, including Display & Video 360.

14                    c.       In June 2011, Google acquired AdMeld, a supply-side platform that Google

15   integrated into its auction platforms.

16                    d.       May 2014, Google acquired an analytics and attribution provider known as

17   Adometry, which Google integrated into its Google Analytics oﬀering to provide improved attribution

18   services.8

19            73.          ese acquisitions created and/or solidified Google’s product oﬀerings in the Ad Tech
20   Stack.
21

22

23

24
     7
25    See This Deal Helped Turn Google Into an Ad Powerhouse. Is That a Problem?, e New York Times
     (Sept. 21, 2020), available at https://www.nytimes.com/2020/09/21/technology/google-doubleclick-
26   antitrust-ads.html.
     8
27     In addition to these acquisitions, Google has made further acquisitions in the ad tech space relating to
     in-app and video advertisements: mDialog (June 2014); Directr (August 2014); Toro (February 2015);
28   Famebit (October 2016).

                                                             15
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 1                 B. Google Used Its Dominant Position          roughout the Ad Tech Stack to Engage In
                      Exclusionary Conduct
 2

 3           74.      Google has engaged in multiple types of exclusionary conduct to obtain, maintain, and

 4   enhance its market power in the Publisher Ad Server Market.

 5           75.      Google’s substantial, detailed user profiles derived from its consumer-facing services (and

 6   further supplemented by its ad tech properties’ data collection activities) is a must-have input for many

 7   advertisers. Other than perhaps Facebook, no other company can provide the data targeting abilities that

 8   Google can provide. As a result, Google could sell data targeting services to advertisers—and would have

 9   substantial market power in a market for such services if it did so. But instead of selling such services as

10   a standalone product, Google ties its data targeting services to its advertiser-facing ad tech products (DSP

11   and advertiser ad server oﬀerings), requiring advertisers to purchase Google’s ad tech services to receive

12   its data targeting services.

13           76.      Specifically, Google ties together its ad targeting and attribution data services with its ad

14   server and DSP services. In other words, Google only lets advertisers, who buy ad space through

15   Google’s buying platforms (Google Ads and Google Display & Video 360), use Google’s data for ad

16   targeting and attribution purposes (including several types of data that only Google can collect, e.g.,

17   Google’s first-party data from the use of Google services—Gmail, Google Maps, Chrome, and the

18   Android OS—data Google gleans from Publishers’ websites that use Google’s ad tech products, and

19   Google’s Search data).      us, Google ties together separate products to advertisers: data—a must-have

20   input for advertisers, particularly smaller advertisers without access to their own proprietary data—with

21   its advertiser ad server and DSP. Each of these products could be made available to advertisers

22   separately, but Google refuses to do so.

23           77.      Because advertisers need significant scale to benefit from so-called “multi-homing”

24   (meaning using more than one DSP and/or ad server), and because Google’s ad targeting data is a key

25   input, Google’s tie of ad targeting data with advertiser-facing ad tech services eﬀectively coerces

26   advertisers to use Google’s ad tech services to the exclusion of other ad tech service providers who

27   cannot provide access to comparable data targeting services.       e advertiser-facing tie eﬀectively compels

28

                                                            16
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 1   a significant pool of advertisers to use Google’s advertiser facing services (as set forth above, Google

 2   controls approximately 80–90% of advertiser ad server business).

 3          78.      For Publishers, Google ties its ad server and auction oﬀerings. Prior to June 2018, Google

 4   oﬀered its ad server and access to auctions as nominally separate products. But in June 2018, Google

 5   formally tied these two products together, requiring Publishers to use its ad server products to access its

 6   auctions (and the advertiser demand the auctions represent). Both before and after Google oﬃcially tied

 7   its ad server to accessing Google’s auctions, Google restricted auction access to Publishers that used

 8   Google’s ad server. Specifically, although Google’s auctions can receive requests from non-Google ad

 9   servers, Google has never permitted its auctions to participate in real-time bidding against other

10   companies’ auctions.9     is means that Publishers must use a Google ad server to have full access to
11   Google’s auctions and the corresponding pool of Google’s advertiser demand. Because Google’s auctions
12   are the only way to obtain bids from advertisers using Google’s advertiser-facing services in the Ad Tech
13   Stack (representing 80%–90% of the advertising spend in the overall market), Google’s conduct coerces
14   Publishers to use Google’s ad server irrespective of whether Google’s tie was formal (post-June 2018) or
15   whether Google’s conduct coerced Publishers to treat the services as tied together (to access one, a
16   Publisher needed to access the other).
17                C. Google Manipulates Its Ad Auction Processes to Preference Its Own Tied Auctions
18          79.      To entrench its monopoly power further, Google manipulates the ad auction process.
19          80.      Google’s publisher ad server controls the auction process for at least 90% of advertisers’
20   digital display ad spending. In this role, Google determines how advertiser bids from competing ad tech
21   services (e.g., other ad exchanges or ad networks) will be compared to Google’s advertiser-clients’ bids
22   through Google’s auctions. From at least 2010 to the present, Google used this favored position to
23   preference its own tied auctions, and to disadvantage competing products.
24

25

26

27
     9
       Absent Google’s refusal to deal, Google’s auction winner would compete in auctions head-to-head with
28   the auction winners of other companies’ auctions.

                                                          17
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 1           81.      Google has exerted control over open-web digital display advertising by subtly changing

 2   the ways its auctions operate to maximize its own revenues to the disadvantage of both Publishers and

 3   advertisers.

 4           82.      Google is able to take these steps because it occupies the dominant position as the

 5   representative for most sellers (Publishers) and most buyers (advertisers), and because of its role in

 6   designing and conducting the auctions for the sellers’ inventory (by virtue of its dominant market share in

 7   providing PAS services).

 8

 9     Pre‐2009                2009                  2014             2015       2018            2019
10      •Waterfall           •Dynamic             •Enhanced          •Header    •Exchange       •Unified
         System              Allocation            Dynamic            Bidding     Bidding         First
11                                                 Allocation                                     Price
                                                                                                 Auction
12
      Figure 3: Evolution of Google Display Ad Auctions
13

14           83.      During each time period set forth in Figure 3, Google found a way to preference its own

15   auctions, disadvantage competitors’ auctions, and/or ensure that its advertiser clients using its advertiser

16   services in the Ad Tech Stack won the maximum number of impressions without maximizing the returns

17   for Google’s Publisher clients.

18         84.        Such conduct suppresses revenues to Publishers and impairs rivals throughout the Ad Tech

19   Stack. While it might appear in theory that the conduct could advantage Google’s advertiser clients

20   (through lower prices to win auctions), as set forth herein, Google does not pass these savings through to

21   advertisers and instead retains any such “savings” for itself.

22                           1.       e Waterfall System (Pre-2009)

23         85.        Prior to 2009, Google’s display ad auctions allowed Publishers to prioritize their sources

24   of demand for advertising (from deals sold directly by the Publishers and from auctions through one or

25   more ad exchanges) within Google’s publisher ad server using a “waterfall” sequence.

26         86.        Publishers could prioritize their demand sources based on how the Publishers valued the

27   demand sources, with direct-sold deals (if any) typically having priority over auctioned ads.      e typical

28

                                                                18
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 1   auctions used a “second-price” auctioning mechanism.10 Publishers would typically rank auction sources
 2   based on estimated performance using historical yield data.

 3        87.       When ad inventory became available (i.e., when a user loaded the Publisher’s page

 4   generating ad slots) and there was no direct deal ad eligible for placement, the Google publisher ad server

 5   selected the demand source in order of the Publisher’s assigned rankings, with the highest-ranked source

 6   having the opportunity to conduct an auction and present a winning bid for the ad slot above a reserve

 7   price.

 8        88.       If that first auction sold the ad above the reserve, the auctioning process stopped there. If

 9   the reserve price was not met, Google’s publisher ad server would oﬀer the next exchange in the

10   waterfall the opportunity to bid at a lower reserve price, and the process repeated for additional demand

11   sources, lowering the reserve price each time.

12        89.       Although this process helped Publishers reduce risk that ad inventory would not sell, it

13   precluded ad exchange demand sources from bidding against each other in real time (which would

14   maximize Publisher yield).

15        90.          e Waterfall System failed to maximize revenues to Publishers because it did not allow

16   all interested advertisers to bid in real time, nor did it allow Publishers to rank demand sources in the

17   Waterfall in accordance with the demand sources’ actual bids (instead relying only on estimated bids

18   based on historic auction results).

19        91.          is limitation reduced Publisher yields. For example, if the Publisher’s estimated bids for

20   its second (or third, or fourth, or fifth, etc.) demand source was inaccurate and those lower-ranked

21   sources’ advertisers would have valued the ad slots more (i.e., bid higher amounts) than the first demand

22   source, the Waterfall System did not allow those lower-ranked demand sources to bid on the ad slots.

23

24   10
        Until recently, second-price auctions have been the norm in programmatic advertising. In a second-
     price auction, the winner only pays $0.01 more than the second highest bid. If Advertiser A bids $2.00 for
25
     an impression and Advertiser B bids $1.75, the auction clearing winning bid will be $1.76. Second-price
26   auctions incentivize advertisers to bid in accordance with the value they place on the impression because
     they know that they will only have to pay the amount needed to beat the next highest bidder irrespective
27   of their bid amount. First-price auctions, on the other hand, create incentives for advertisers not to bid as
     high as they value the impression and instead focus on optimizing their bids to bid as low as possible but
28   still win the auction.

                                                          19
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 1          92.         As set forth in Figure 4, if the Waterfall System has two demand sources (ad exchanges)

 2   both running second-price auctions, the publisher ad server would collect the bid from the first demand

 3   source using a reserve price (say $5).        e auction clearing price may then be $5.01 and, because the

 4   reserve price was satisfied, the first auction would place the ad. However, if the second demand source’s

 5   auction clearing price would have been $6.01, the Publisher eﬀectively loses $1 for the ad placement due

 6   to the Waterfall System because that second demand source never gets the opportunity to bid.

 7
                                                                                    DSP #1: $10 bid
 8
                                                     Ad Exchange 1: 2nd
 9                                                  price auction clearing
                                                   price is %5.01 (winning)
10                                                                                   DSP #2: $5 bid
11                   Publisher: 1st price
                    auction clearing price:
12                          $5.01
                                                                                     DSP #3: $8 bid
13
                                                     Ad Exchange 2: 2nd
14                                                  price auction clearing
                                                   price is $6.01 (not used)
15                                                                                   DSP #4: $6 bid

16

17
     Figure 4: Lost Opportunity Due to Waterfall
18

19            93.          erefore, the Publisher cannot maximize its revenue for its ad slots because the
20   advertisers that valued the slots the highest were not permitted to bid.
21            94.       An additional issue created by the Waterfall System was slow-loading advertisements.      e
22   process of conducting successive auctions sometimes took long enough that users often left a page before
23   the advertisement loads, creating issues with tracking ad performance and potentially causing the
24   Publisher’s content to load more slowly and diminishing user experience.
25                             2. Dynamic Allocation (2009)
26            95.       Beginning in or around 2009, Google’s PAS used a system called “Dynamic Allocation”
27   as a supplement to the Waterfall System.
28

                                                                20
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 1          96.     With Dynamic Allocation, Google’s PAS gave Google’s own ad exchange an advantage:

 2   Google used the Publisher’s highest estimated bid from a demand source in the Waterfall System (which

 3   Publishers inputted into the PAS) as the reserve price for Google’s ad exchange’s auction. If Google’s ad

 4   exchange could beat that highest estimated price, Google placed the ad from its auction winner and no

 5   other demand source was given the opportunity to bid.

 6          97.       is gave Google’s ad exchange a privileged position as the default first demand source in

 7   the Waterfall System.

 8          98.     Dynamic Allocation did nothing to address the ineﬃciencies of the Waterfall System;

 9   rather, it capitalized on those ineﬃciencies by imposing Google as the default first demand source.

10                        3. Enhanced Dynamic Allocation (2014)

11          99.     In 2014, Google implemented “Enhanced Dynamic Allocation,” pursuant to which

12   Google’s ad exchange used an adjusted price from the highest value direct deal the Publisher had

13   arranged as the reserve price for its own auction.

14          100.    Enhanced Dynamic Allocation conferred an even greater advantage on Google’s own ad

15   exchange by allowing it to prioritize Google’s ad exchange even ahead of Publishers’ direct-sold deals in

16   the Waterfall System.

17          101.    Meanwhile other ad exchanges would only get to bid if (1) Google’s ad exchange failed to

18   meet the reserve, and (2) there was no direct deal qualifying for the space, and (3) the PAS reached the

19   other ad exchange in the Waterfall System.

20          102.    While this process created the potential to increase Publisher revenues in the short term

21   (by selling higher-revenue programmatic ads over direct deals), overall, the likely eﬀect was weakening

22   Publishers’ direct sales channels and driving advertisers to programmatic channels (which benefits

23   Google over the Publishers’ direct sales).

24                        4. Header Bidding (2015)

25          103.    To address the ineﬃciencies created by the Waterfall System and Google’s Dynamic

26   Allocation processes, Publishers and ad tech competitors began to develop and implement a process

27   known as “header bidding.”

28

                                                          21
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 1           104.            ere are two types of header bidding, client-side and server-side, each of which uses

 2   diﬀerent means to allow Publishers to conduct real time auctions between multiple demand sources (e.g.,

 3   auctions and ad networks).

 4           105.      Client-side header bidding involves adding a piece of code to Publishers’ websites which

 5   causes the user’s browser to send ad requests to the Publishers’ demand sources before the code initiates

 6   the Publisher’s ad server system.                 e header bidding demand sources then submit their bids

 7   simultaneously.

 8           106.      Several ad tech companies oﬀer server-side header bidding pursuant to which demand

 9   sources bid in a real time auction on a remote server controlled by a third party.

10           107.      Although server-side header bidding is marginally faster than client-side header bidding,

11   server-side header bidding results in lower Publisher revenues because it impairs advertisers’ ability to

12   match their data to the user to whom the ad will be served.

13           108.            rough either type of header bidding, Publishers’ ad inventory sales process avoids the

14   Waterfall System altogether.

15           109.       With the Waterfall system, once the publisher ad server identifies a demand source in the

16   Waterfall that meets the floor price, the process is over. But header bidding involves all demand sources

17

18

19

20                                                                               •$1.90                              •$2.00
       Demand       •$1.90                                                        bid                                 bid
21    Source #1      bid
                                                                                              Demand      Demand
                                          Winner
                                                                                               Source      Source
22                                                                                               #1          #2
                   Demand        •$2.00
                  Source #2       bid
23                                                                      Winner
                                                                                              Demand      Demand
                                                                                               Source     Source #
24                              Demand        •$2.10                                             #4          3
                               Source # 3      bid
                                                                                 •$2.50                              •$2.10
25                                                                                bid                                 bid
26                                            Demand       •$2.50
                                             Source #4      bid

27

28   Figure 5: Waterfall with $2.00 Floor Price                            Figure 6: Header bidding with $2.00 Floor Price


                                                                      22
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 1   bidding simultaneously, and therefore allowing the highest bidder to prevail. Compare Figure 5

 2   (Waterfall auction), with Figure 6 (Header bidding auction).

 3          110.      e advent of header bidding significantly increased revenues to Publishers, sometimes up

 4   to 70%.

 5          111.    Google undermines client-side header bidding by refusing to allow its ad exchange to

 6   participate in header bidding auctions.

 7          112.    Because Google controls so much of the advertiser demand, Google’s refusal to

 8   participate thins header bidding auctions, causing them to generate lower clearing bids. Google then

 9   provides its ad exchange a “last look” advantage after header bidding processes are complete.    rough

10   this process, after the client-side header bidding process sends the winning bid to Google’s PAS, Google

11   oﬀers the spot to its ad exchange to see whether Google’s exchange can beat the price.

12          113.    Google’s “last look” does not achieve the same result as participating in the header

13   bidding process. With the last look, Google’s ad exchange must only beat the header bidding clearing

14   price. But if a header bidding advertiser would pay more than its winning bid, simply aﬀording Google

15   the last look results in a lower sale price because Google’s winning bidder and the header bidding winner

16   did not have to determine which would bid the highest in an auction between them. For example, if the

17   winning header bidding advertiser is willing to bid $3.00 but needs only $2.00 to clear the header bidding

18   auction. Google’s last look advantage would allow Google’s advertiser to win the auction at $2.01 rather

19   than needing $3.01 to beat the header bidding winner.11 As a result, Google can optimize its advertiser
20   bids to bid the lowest amount needed to beat the header bidding auction clearing price rather than
21   competing directly with the header bidding auction participants.12
22

23
     11
       Notably, Google’s advertisers do not benefit from these lower prices because Google still charges its
24   advertisers a higher price (e.g., the value the advertiser ascribes to displaying an ad to a particular
25   user/type of user) and keeps the diﬀerence between that price and the clearing bid price.
     12
       Google also used its control over the initial AMP format to make AMP incompatible with client-side
26   header bidding. More recently, Google has introduced an AMP solution that allows client-side header
27   bidding, but it imposes strict limits on the number of demand sources allowed to participate in bidding
     and a time constraint on response times from demand sources. e News Corp. Submission argues that
28   these constraints “shut out some exchanges.” Id. at 26.

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 1                          5. Exchange Bidding (2018)

 2            114.    In 2018, Google introduced “Exchange Bidding” (also known as “Open Bidding”) on its

 3   publisher ad servers. Google introduced Exchange Bidding to prevent header bidding from invading

 4   Google’s market dominance. Exchange Bidding is a unified auction between rival ad exchanges that is, in

 5   essence, a form of server-side header bidding. Each time inventory is for sale, with Exchange Bidding

 6   activated by the Publisher, the Google publisher ad server runs consecutive auctions as follows:13
 7                First, Google conducts a second-price auction within Google Ads (a Google DSP that
 8                 provides advertiser-facing services to smaller advertisers) to select the highest bidder among

 9                 Google Ads advertisers.

10                Second, Google conducts a second-price auction within Google’s primary ad exchange (AdX)
11                 where Google Ads would compete with other DSPs.

12                  ird, Google conducts the Exchange Bidding auction, a final first-price auction where AdX
13                 would compete against other exchanges.

14            115.    In that final auction, however, if the winning bidder of the Exchange Bidding auction is a

15   non-Google advertiser client (e.g., the winning bidder uses a competing ad exchange), Google charges

16   the winning bidder a surcharge equal to 5%–10% of the winning bid. Google does not change this fee to

17   Google’s advertiser clients.     us, Google places a 5%–10% tax on competition from other ad exchanges,

18   raising its rivals’ costs (and forcing advertisers to pay more). Google does not pass through this tax to its

19   Publisher clients.

20                          6. First-Price Unified Auction

21            116.    Over time, many ad exchanges moved away from second-price auctions to first-price

22   auctions. By September 2019, Google completed its switch to a first-price unified auction.

23            117.    When Google “unified” its auctions, it collapsed its second-price auctions within its ad

24   exchange into its Exchange Bidding auction, meaning that Google ran one first-price auction rather than

25   second-price auctions followed by a first-price Exchange Bidding auction.

26

27

28   13
          Exchange Bidding must be actively enabled in Google’s publisher ad server.
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 1          118.       While in some ways, Google’s unified auction switch should benefit Publishers (e.g., by

 2   having Google’s ad exchange compete in real-time with other demand sources), it appears that the switch

 3   was driven by Google’s desire to implement unified pricing. Specifically, when Google unified its

 4   auction, it removed its Publishers’ ability to set diﬀerent reserve prices (or floor prices) for diﬀerent

 5   demand sources. Google’s move to unified pricing was driven by its observation that Publishers were

 6   setting higher floor prices for Google’s ad exchange than for Publishers’ other demand sources.

 7          119.       From Publishers’ perspective, the need for diﬀerential reserve prices is heightened with a

 8   first-price auction, making Google’s switch from a second-price auction with diﬀerential reserve prices to

 9   a first-price auction with unified pricing particularly problematic. Although the switch to first-price

10   auctions, in the short term, can increase the value of winning bids (because advertisers will pay the

11   amount they bid rather than $0.01 more than the second highest bid as they would in a second-price

12   auction), over the long term, revenues do not increase because of the practice of bid shading.

13          120.       Bid shading refers to the use of an algorithm created by DSPs that optimizes bidding in ad

14   auctions.     ese algorithms use machine learning capabilities and input historical data such as site, ad

15   size, exchange and competitive dynamics to enable advertisers to pay as little as possible without

16   impacting their win rate.

17          121.       DSPs, including Google’s DSP oﬀerings, use bid shading algorithms in first-price auctions

18   to try to approximate the results of a second-price auction. Because of the prevalence of these bid

19   shading approaches, Publishers have seen relatively small increases in revenue from the switch to first-

20   price auctions.

21          122.       Google’s unified auction impairs Publishers’ ability to counteract bid shading by imposing

22   unified pricing. As one Publisher put it:

23          When a seller faces asymmetric bidders in an auction, it is optimal to set a higher reserve
            price (price floor) for the stronger bidder. is incentivizes the stronger bidder to engage in
24          less ‘bid shading’, which improves revenue for the auctioneer (in this case the publisher).
            Google’s exclusionary conduct, including its informational advantages, imply that
25
            publishers have a strong incentive to set higher reserve prices for Google’s ad exchange.
26             is partially (but not fully) mitigates Google’s artificial advantages. Following the rule
            change [prohibiting publishers from setting separate price floors], publishers must use the
27          same price floor for all buyers and bidders. As a result, publishers cannot run optimal
            auctions that require Google DSPs to pay for artificial information advantages.
28

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 1           123.        us, these pricing rules not only impair Publishers’ ability to counteract bid shading in

 2   general, but specifically protect Google’s ability to engage in bid shading.
 3              D. Google Uses Its Monopoly Power In Other Markets To Impair Potential Competitors
                   In e Publisher Ad Server Market.
 4

 5           124.     Google has used its dominance in other markets (notably search and internet browser

 6   markets) to impair potential competitors’ ability to collect data that could be used to compete with

 7   Google’s advertiser-facing oﬀerings in the Ad Tech Stack, which could undermine Google’s stranglehold

 8   on advertisers that Google uses to control the Publisher Ad Server Market. Notably, Google has taken at

 9   least three actions in recent years that have impaired actual or potential competitors’ ability to collect data

10   that could be used for advertising purposes.

11           125.     First, Google has recently taken steps to stop supporting third-party cookies in its Chrome

12   Browser.       ird-party cookies have been a key mechanism in digital advertising for years. Cookies are

13   pieces of text that websites place on users’ browsers when they visit the website.      e text contains code

14   that identifies the user to the website so that the website can pull information on the users’ past

15   interactions with the site (e.g., prior pages viewed, items in the users’ shopping carts, etc.). In addition to

16   cookies the website places on a user’s browser, third parties can place cookies on a user’s browser in

17   certain circumstances (e.g., Facebook places cookies on users’ browsers when the users visit sites that

18   utilize Social Plugins).    ese third-party cookies allow the third parties to aggregate information about

19   particular users across all websites that the user visits.

20           126.     Various companies use third-party cookies to collect data on users to oﬀer advertisers

21   increased targeting abilities. However, Google’s exclusionary conducts has directly impaired these

22   companies’ ability to compete in providing ad targeting services.

23           127.     Second, Google recently released a new version of Chrome that introduced a new

24   encryption feature that would prevent internet service providers (“ISPs”) from collecting user browsing

25   data.   rough this action, Google prevents ISPs like Verizon, which has oﬀered competing services in the

26   Ad Tech Stack, from collecting data on users’ browsing history that ISPs could use or sell to be used to

27   compete with Google for advertiser clients.

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 1          128.      ird, Google uses its dominance in Search to coerce Publishers to oﬀer content in

 2   “accelerated mobile pages” (“AMP”) format. Once the Publisher loads content in AMP format, Google

 3   creates a cached version on Google’s servers. Each time a user then navigates to the Publisher’s AMP

 4   content from Google properties (e.g., Search or Google News), instead of directing the user to the

 5   Publisher’s server, Google serves the AMP content from Google’s AMP cache server.         is practice

 6   prevents Publishers from collecting their own data on users (which could be used to facilitate the

 7   Publisher’s advertising objectives, or combined and/or sold to other parties to aggregate into datasets that

 8   could be used to compete with Google).

 9          129.    Each of these practices may significantly impair potential competitors in the Publisher Ad

10   Server Market by blocking several of the most common ways that companies collect data for purposes of

11   targeting advertisements and providing attribution services. Yet, each of these practices would have

12   limited, if any, eﬀect on Google’s ability to collect user data because Google does not rely on third-party

13   cookies or scraping DNS data in amassing its user data for ad targeting purposes. Similarly, because

14   Google collects first party data through its advertising intermediation services and because Google hosts

15   the AMP cache, the AMP cache conduct only adversely aﬀects Publishers and has no eﬀect on Google.

16          130.    By inducing advertisers to utilize Google’s Ad Tech Stack to distribute their content,

17   Google has made Publishers dependent upon Google for selling their display ad inventory.

18          131.    Google also took actions to impair directly competitors’ and Publishers’ ability to generate

19   their own datasets on users that Publishers could use to sell advertising through Google’s competitors in

20   the Publisher Ad Server Market.

21          132.    Google’s conduct in this regard has allowed it to continually increase its market share at

22   the expense of other ad tech services providers and to the detriment of Publishers.

23              E. Google Made an Unlawful Agreement with Its Biggest Competitor to Suppress
                   Competition.
24
            133.    In March of 2017, Facebook publicly announced it would support header bidding. By
25
     doing so, Facebook would enable web and mobile app Publishers and advertisers to bypass the fees
26
     associated with transacting through Google’s ad server. When bidding into Google’s ad server, ad
27

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 1   exchanges and ad networks had pay fees to Google. Because header bidding cost nothing, Facebook’s

 2   announced approach would let Publishers and advertisers evade fees altogether.

 3          134.       e wider industry also thought that Facebook was prepared to challenge Google’s

 4   monopoly. Google and Facebook operate the largest ad networks for display and in-app mobile inventory

 5   in the United States (i.e., Google Display Network, AdMob, and Facebook Audience Network).           e

 6   same day as Facebook’s March 2017 header bidding announcement, industry publication AdAge wrote

 7   that Facebook was poised to execute a “digital advertising coup against rival Google and its DoubleClick

 8   empire.” A Business Insider headline the same day read, “Facebook Made an Unprecedented move to

 9   Partner With Ad Tech Companies – Including Amazon – to Take on Google.”

10          135.    Even before Facebook’s March 2017 announcement, Google was concerned about large

11   entrants supporting header bidding. In an October 2016 internal presentation, a Google employee

12   expressed concern about the potential for competition from Facebook and other large tech companies,

13   saying “to stop these guys from doing HB [header bidding] we probably need to consider something

14   more aggressive.”

15          136.       us, when Facebook announced its support for header bidding, Google realized its fears

16   that Facebook’s support could crack Google’s stranglehold on the Ad Tech Stack generally, and the

17   Publisher Ad Server Market in particular. Indeed, Facebook has its own ad tech tools (the Audience

18   Network) that Publishers could use, in theory, to replace the function of Google’s ad server products,

19   along with substantial user data and a significant pool of advertisers. As a result, Facebook represented a

20   viable threat to Google’s market share if it were to enter the Publisher Ad Server Market and support

21   header bidding.

22          137.    Facebook’s backing of the header bidding threat was a credible threat in part because it

23   would allow advertisers to bid on Publishers’ ad inventory without paying the 5%–10% tax Google

24   levied on non-Google advertisers that won Google’s Exchange Bidding auctions.

25          138.    Facebook’s announcement sought to and did induce Google to negotiate a deal with

26   Facebook. Within months of Facebook’s header bidding announcement, Google and Facebook began

27   formal negotiations to reach a deal not to compete head-to-head in display advertising.

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 1           139.        e companies’ eﬀorts to avoid competition were successful.    e ultimate outcome of the

 2   negotiations was a September 2018 Google-Facebook agreement that resulted in Facebook significantly

 3   curtailing its header bidding initiatives. Facebook would instead bid through Google’s advertising tools

 4   and in return, Google agreed to give Facebook a leg up in its auctions.

 5           140.        e agreement was known internally at Google as “Jedi Blue,” a code name for the deal

 6   that references “Star Wars.” Facebook executive Sheryl Sandberg signed the deal with Google and

 7   described the deal to Facebook CEO Mark Zuckerberg, among other executives, as “a big deal

 8   strategically.”

 9           141.      Google and Facebook were aware that the Jedi Blue agreement could trigger antitrust

10   investigations and liability.   e word “antitrust” appears in the Jedi Blue contract no fewer than 20 times.

11   As part of the agreement, Google and Facebook agreed to cooperate and assist one another if they ever

12   faced an investigation into the agreement to work together in online advertising.

13           142.      Pursuant to the deal, Facebook committed to spending a minimum of $500 million

14   annually in Google-run auctions, and Google agreed that Facebook would win a fixed percentage of

15   those auctions. According to an internal Facebook document, Facebook believed the deal was “relatively

16   cheap” as compared with direct competition.

17           143.      By providing Facebook with advantages, Google has further manipulated auctions.

18   Google already manipulates Publishers’ ad auctions by giving Google bidders information and speed

19   advantages. In 2019, these advantages helped them to win the overwhelming majority of Publishers’ ad

20   auctions, hosted by Google. Now Google oﬀered Facebook information advantages, speed advantages,

21   and other prioritizations, to the detriment of other auction participants. Google publicly misrepresents

22   that all bidders in Publishers’ auctions compete on an equal footing. “All participants in the unified

23   auction, including Authorized Buyers and third-party yield partners, compete equally for each impression

24   on a net basis,” Google says.     is, of course, is false.

25           144.      Given the scope and extensive nature of cooperation between the two companies, Google

26   and Facebook were highly aware that their agreement could trigger antitrust violations.

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 1      VIII. GOOGLE’S SCHEME FORECLOSED THE PUBLISHER AD SERVER MARKET

 2          145.       rough the anticompetitive conduct described above, Google forecloses other Ad Tech

 3   Stack service providers from competing for advertisers and Publishers. Because of its acquisitions and

 4   subsequent advantages Google conferred on itself by tying its various distinct products together, Google

 5   amassed network eﬀects throughout the Ad Tech Stack.        ese network eﬀects are self-reinforcing:

 6   advertisers use Google ad services to access Google’s data advantages, and Publishers use Google ad

 7   services to access the advertiser demand that Google uniquely amasses through its data oﬀerings.

 8          146.    Google then further reinforces its market position by impairing potential competing Ad

 9   Tech Service providers by using its market power in other markets (e.g., the internet browser market and

10   internet search services market) to prevent potential rivals from collecting rival datasets that could make

11   the potential rivals viable alternatives to Google for advertisers (which could, in turn, loosen Google’s

12   hold on the Publishers in the Publisher Ad Server Market).

13          147.    For Facebook, the one ad tech services provider Google could not foreclose through its

14   conduct due to Facebook’s independent ability to amass user data and substantial book of advertiser

15   clients, Google entered into an illicit market allocation and bid-rigging agreement.   e agreement turned

16   Facebook from a potential challenger to Google’s market dominance into a structural support of such

17   dominance.

18          148.    Finally, Google foreclosed what few service providers remained by steering auctions to

19   Google’s services and away from the other service providers, and taxing/raising such rivals’ costs when

20   the rivals managed to win auctions for Google’s Publisher-clients’ ad inventory notwithstanding the

21   hurdles Google imposed. Because of this conduct, potential rivals lack the ability to generate scale

22   suﬃcient to compete with Google.

23          149.       e foreclosure caused by Google’s conduct in the Publisher Ad Server Market can be

24   seen by the exit of competitors and limited entry over the past decade or so. Several large advertising

25   technology firms oﬀered publisher ad server solutions, including substantial competitive oﬀerings from

26   Yahoo!, AppNexus, and OpenX. Today, few publisher ad server competitors remain in the United States.

27   Yahoo’s publisher ad server was acquired in 2017 and shuttered in 2019. AppNexus’s publisher ad server

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 1   was acquired by AT&T and rebranded to Xandr but faces an uncertain future as AT&T is reportedly

 2   considering selling the publisher ad server. OpenX shut down its ad server solution in 2019.

 3             150.   Entry into the Publisher Ad Server Market has been remarkably weak over the past decade

 4   too.   is lack of entry is a result of high switching costs for Publishers augmented by the artificial

 5   barriers arising from Google’s anticompetitive conduct. As a result, Publishers have very limited

 6   alternatives to Google’s publisher ad serving product, and rivals are unable to compete by improving

 7   quality or lowering price.

 8      IX.       GOOGLE’S SCHEME CAUSES ANTICOMPETITIVE EFFECTS

 9             151.   Google’s conduct with respect to the ad tech stack has had multiple anticompetitive

10   eﬀects.

11                A. Google’s Scheme Suppresses Ad Revenues Publishers Receive for              eir Ad Inventory
                     Below Competitive Levels
12

13             152.   Google’s Publisher-facing services work with its advertiser-facing services to manipulate

14   the auctioning and ad placement processes in ways that favor Google and suppress the net advertising

15   income Publishers receive. Google represents the interests of two sides of the Ad Tech Stack (advertisers

16   and Publishers) that conflict; advertisers want to pay as little as possible, whereas Publishers want to

17   maximize their revenues. Google, as the representative of both sides of the Ad Tech Stack, represents

18   neither interest. Google instead prioritizes Google’s services to maximize the revenue Google can retain

19   from advertiser payments before transmitting the net payments to Publishers; in other words, Google

20   seeks to maximize the spread between what advertisers pay and what Publishers receive in connection

21   with each ad placement because Google retains that diﬀerence.

22             153.   In a competitive market, service providers in the Ad Tech Stack would compete for

23   Publishers (and advertisers) based on (1) the cut the ad server/ad exchanges take from advertiser

24   spending on Publishers’ ad inventory, and (2) eﬃciency of auction mechanisms (e.g., Publishers would

25   seek out ad servers and auction providers that would represent the Publishers’ interests, including

26   maximizing Publishers’ revenue from auctions as opposed to prioritizing the vendors’ own services to

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 1   maximize the vendors’ ability to capture commissions).14       is competition would drive down the cost of
 2   services in the Ad Tech Stack and increase Publishers’ ad revenues by more eﬃciently running auction

 3   processes (as well as improve the quality of Publisher-facing ad tech services, e.g., by increasing analytic

 4   data on auctions, placements, and revenues).

 5          154.      In short, Google retains at least 30% of what Google’s advertisers pay to place ads on

 6   Google’s Publishers’ pages (and analyses of pre-2019 periods estimate that Google took around 50% of

 7   advertiser payments), and in a competitive market, Google would retain a lower share of what would

 8   likely be higher gross revenues.15 Given that Google’s returns on capital are around 40% for its digital
 9   advertising intermediation business, while Publishers have been starved of advertising revenues, the

10   CMA has raised concerns that Google’s “take” is supra-competitive and suppresses payments to

11   Publishers.

12                 B. Google’s Scheme Reduces Publishers’ Content Output and Quality Along with
                      Publishers’ Revenue-Generating Abilities.
13

14          155.      As set forth above, Google’s conduct has impaired Publishers’ ability to monetize their

15   content by reducing competition in the Publisher Ad Server Market and charging supracompetitive

16   prices. But Publishers require more revenue to increase output and improve quality.

17          156.      Publishers invest significant resources in content creation. For example, Publishers who

18   operate news sites pay journalists to research and report on stories, pay for production of visual media,

19   and have editors, producers, fact-checkers, etc. to ensure content quality.

20          157.      By reducing Publishers’ ability to monetize their content, Google necessarily reduces the

21   quality of Publishers’ content by reducing their ability to pay to create it.

22

23

24   14
       Vendors would also likely compete on non-price bases e.g., speed of auction processes/ad placements,
     ability to control types of advertisements that may appear on the Publishers’ content, and integration with
25
     the Publishers’ systems and needs.
26   15
       Gross revenues would likely be higher absent Google’s conduct for a variety of reasons including,
     without limitation, auction bids would be higher as participants combine into unified auctions without
27
     Google’s self-preferencing and manipulations, and because Google’s commission would decrease and
28   Publishers would see higher net revenues, Publishers would expand output creating more ad impressions
     for sale, which leads to higher gross revenues as well.
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 1          158.    As News Corp. put in in their recent comments to the FTC:

 2          High-quality news publishers are built on the notion that investing in a superior
            product yields benefits for all parties. But when publishers cannot eﬀectively
 3          monetize their content, they cannot make the necessary investments to continue to
            produce high-quality content. Without such investment, journalists/content writers
 4          will be laid oﬀ, oﬃces will be closed, and longer-term investigations and writing
            projects will be cut. e platforms and the publishers are thus locked in an existential
 5          (for publishers) battle over whether consumers will pay for news content—which
            would make them more likely to navigate directly to publishers’ sites and apps—or
 6          whether content will be made available for free, and intermediated by the platforms.
               e stakes are amplified by the fact that the platforms also control the only alternative
 7          form of monetization, advertising. Given the disparate power between the two sides,
            the likeliest outcome will be the reinforcement of the platforms’ dominance and the
 8          further degradation of publishers’ ability to generate quality journalism.

 9   See Comments of News Corp to the Federal Trade Commission Re: Hearings on Competition and

10   Consumer Protection in the 21st Century at 13 (Aug. 20, 2018).

11          159.    Even for those Publishers that have suﬃcient revenue, reputation, and influence to

12   maintain the quality and quantity of their content, receipt of additional revenues would allow for even

13   better content and quality. It is almost certain that Google’s conduct reduces output and quality from

14   smaller and less well-established Publishers and prevents others from starting in the first place.

15          160.    Google does not balance these anticompetitive eﬀects with corresponding procompetitive

16   eﬀects. Both Publishers (through reduced compensation) and consumers (through reduced content quality

17   and reduced content quantity) experience these anticompetitive eﬀects.

18              C. Google’s Scheme Causes Anticompetitive Eﬀects for Both Google’s Advertiser
                   Clients and Non-Google Advertisers.
19

20          161.    In addition to suppressing Publisher revenues, limiting Publishers’ output, and reducing

21   content quality (which harms consumers), Google’s Scheme increases prices advertisers pay.

22          162.    First, Google restricts the ability of its DSP customers to compete for the inventory of

23   Publishers using non-Google ad servers.      is restriction has the eﬀect of penalizing advertisers using

24   Google’s ad tech services by not allowing them to bid on non-Google Publishers’ ad inventory through

25   Google’s DSPs. Google, of course, does this as part of the Scheme to coerce Publishers to use Google’s

26   Publisher-facing products (i.e., by denying Publishers access to Google’s advertisers through competing

27   Publisher-facing products, Google can coerce Publishers to use Google’s products irrespective of the

28   harms such policy imposes upon Google’s advertisers). Further, some evidence indicates that at least

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 1   prior to 2019, Google caused its own advertiser clients to pay more than the auction-clearing price

 2   (allowing Google to retain the diﬀerence between the advertiser’s payment that Google determines and

 3   the auction-clearing price), thus artificially raising prices to its advertisers.

 4            163.   Second, Google prevents advertisers that do not use Google’s services from having an

 5   equal opportunity to bid on Google’s Publisher-clients’ advertising inventory. For example, prior to 2018,

 6   Google manipulated the auctioning process for its Publisher clients to allow its demand sources to outbid

 7   other ad exchanges’ pools of advertisers without ever allowing those rival ad exchanges to bid. As a

 8   result, Google eﬀectively excluded non-Google client advertisers from bidding for significant portions of

 9   Google’s Publisher-clients’ ad inventory.

10            164.   In addition, since 2018, when Google began to allow non-Google advertisers to bid in

11   “Open Bidding” auctions against Google’s advertisers, Google has charged non-Google advertisers an

12   additional fee of 5%–10% when those advertisers outbid Google’s own auctions.

13       X.      GOOGLE’S SCHEME CAUSES PUBLISHERS ANTITRUST INJURY

14            165.   As a direct and proximate result of Google’s anticompetitive conduct, as alleged herein,
15   Plaintiﬀ and members of the Class suﬀered substantial losses to their business or property in that their
16   revenues from selling non-search digital display advertising space were artificially suppressed during the
17   Class Period.    e full amount of such damages will be calculated after discovery and upon proof at trial.
18            166.   Google used its Scheme to obtain, maintain, and enhance its monopoly power in the
19   Publisher Ad Server Market.
20            167.   Due to Google’s ill-gotten market power, Plaintiﬀ and the Class were forced to utilize
21   Google’s publisher ad server services, pursuant to which Plaintiﬀ and the Class paid Google a
22   supracompetitive cut of advertising revenues Publishers generated for user visits to their sites. Absent this
23   anticompetitive conduct, however, Plaintiﬀ and members of the Class would have received more
24   revenues for advertising on their content.
25            168.   Moreover, because of the reduced revenues Publishers can generate due to this Scheme,
26   Publishers have been forced to reduce output, lay oﬀ content creators (e.g., journalists), and many have
27   gone out of business altogether.
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 1            169.      us, as a direct and proximate result of this anticompetitive Scheme, Google reaps more

 2   revenue (including, without limitation, a cut of ad revenues through the Google Ad Manager), suppresses

 3   Publishers’ revenues, and forces Publishers to reduce the content they produce causing further reductions

 4   in revenues.

 5            170.      e conduct comprising Google’s anticompetitive Scheme is continuing and so are the

 6   damages suﬀered by members of the Class.

 7      XI.      INTERSTATE COMMERCE

 8            171.   Google engages in interstate commerce and in activities substantially aﬀecting interstate

 9   commerce including, without limitation, (1) providing consumer services, such as Search, Gmail,

10   YouTube, and Android OS, to consumers throughout the United States and globally, (2) providing

11   advertiser buying platforms, Google Ads and Google Display & Video 360, to advertisers targeting

12   consumers throughout the United States and globally, and (3) providing Google Ad Manager, Google

13   AdSense, and Google AdMob to Publishers based throughout the United States and globally. Publishers,

14   both foreign and domestic, use Google’s ad tech services to sell ad inventory targeted at users across the

15   United States. Both foreign and domestic advertisers use Google to target advertisements to Publishers’

16   users across the United States.

17      XII.     CLASS ALLEGATIONS

18            172.   Plaintiﬀ brings this class action is brought under Rules 23(a) and 23(b) of the Federal
19   Rules of Civil Procedure on behalf of the “Class,” defined as follows:
20            All Publishers that sell digital display advertising inventory through a Google publisher ad
              server targeting consumers in the United States between December 23, 2016 and the date the
21            Court certifies the Class.
22
              173.   Excluded from the Class are: (1) any Judge or Magistrate presiding over the class action
23
     and members of their families; (2) Defendant and its subsidiaries, parents, successors, predecessors, or
24
     any entity in which Defendant has a controlling interest; (3) persons who properly execute and file a
25
     timely request for exclusion from the class; and (4) the legal representatives, successors, or assigns of
26
     such excluded persons.
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 1          174.       e number of Publishers in the Class are so numerous that joinder of all members in one

 2   action is impracticable.   e Class is reasonably estimated to include at least one hundred (if not

 3   thousands of) participants. While the precise number, names, and addresses of all members of the Class

 4   are unknown to Plaintiﬀ at this time, such information is ascertainable in several ways, including,

 5   without limitation, from analysis of Defendant’s records.

 6          175.       e objective facts are the same for all members of the Class in that, inter alia, Google’s

 7   conduct in monopolizing the Publisher Ad Server Market was the same, e.g., Google’s conduct outlined

 8   herein vis-à-vis Publishers and advertisers, its tying of separate products, its market allocation agreement

 9   with Facebook, and its conduct impairing other companies’ and Publishers’ ability to collect data to be

10   used for targeting ads.

11          176.    Within each Claim for Relief asserted below, the same legal standards govern resolution

12   of the same operative facts existing across all members of the Class’s individual claims. If Defendant is

13   liable to one member of the Class, Defendant is liable to all members of the Class.

14          177.    Because the claims of each member of the Class have a common origin and share a

15   common basis in terms of Defendant’s systematic misconduct, there are common questions of fact and

16   law which exist and which are susceptible to common answers as to each Class member under Federal

17   Rule of Civil Procedure 23(a)(2), and which predominate over any questions aﬀecting only individual

18   members under Federal Rule of Civil Procedure 23(b).

19          178.    Substantial questions of fact and law that are common to all members of the Class, and

20   which are susceptible to common answers and which control this litigation and predominate over any

21   individual issues, include, inter alia, the following:

22                  a. whether the Publisher Ad Server Market is a relevant market in this case;

23                  b. whether Google possesses monopoly power in the Publisher Ad Server Market;

24                  c. whether, through the conduct alleged herein, Google willfully acquired, maintained,

25                      and/or enhanced its monopoly power in the Publisher Ad Server Market;

26                  d. whether Google’s conduct, as alleged herein, is anticompetitive;

27                  e. whether Google’s conduct, as alleged herein, had anticompetitive eﬀects in the

28                      Relevant Market;

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 1                  f. whether Google entered into an agreement with Facebook not to compete in providing

 2                      ad tech services to Publishers;

 3                  g. whether Google entered into an agreement with Facebook for Facebook to win a fixed

 4                      percentage of Google’s auctions;

 5                  h. whether Google’s conduct caused Plaintiﬀ and members of the Class antitrust injury;

 6                  i. the appropriate measure of damages; and

 7                  j. the propriety of declaratory and injunctive relief.

 8          179.    Plaintiﬀ’s claims are typical of the claims of the Class, and arise from the same course of

 9   conduct undertaken by Google against the Class.       ere are no conflicts between the interests of the

10   named Plaintiﬀ and the interests of the members of the Class that Plaintiﬀ seeks to represent.      e relief

11   Plaintiﬀ seeks is typical of the relief sought for the members of the Class.

12          180.    Plaintiﬀ will fairly and adequately represent and protect the interests of the Class because

13   of the common injury and interests of the members of the Class and the uniform conduct of Google that

14   is, and was, applicable to all members of the Class. Plaintiﬀ has retained counsel competent and

15   experienced in antitrust class action litigation that will adequately represent and protect the interests of

16   the members of the Class.

17          181.    Class certification is appropriate under Federal Rule of Civil Procedure 23(b)(3) not only

18   because common questions of fact and law predominate, but also because a class action is superior to

19   other available methods for fairly and eﬃciently adjudicating the controversy.       e prosecution of

20   separate actions by individual members of the Class would impose heavy burdens upon the courts and

21   Google, and would create a risk of inconsistent or varying adjudications of the questions of law and fact

22   common to the Class. Class action status, on the other hand, would achieve substantial economies of

23   time, eﬀort and expense, and would assure uniformity of decision as to persons similarly situated without

24   sacrificing procedural fairness or bringing about other undesirable results.

25          182.    Plaintiﬀ is not aware of any management diﬃculties which should preclude maintenance

26   of this litigation as a class action. Plaintiﬀ does not anticipate any diﬃculty in the management of this

27   action as a class action. Rule 23 provides the Court with authority and flexibility to maximize the

28   eﬃciencies and benefits of the class mechanism and reduce management challenges.            e Court may, on

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 1   motion of Plaintiﬀ or on its own determination, utilize the provisions of Rule 23(c)(4) to certify any

 2   particular claims, issues, or common questions of fact or law for class-wide adjudication; certify and

 3   adjudicate bellwether class claims; and utilize Rule 23(c)(5) to divide the class into subclasses.

 4       XIII. CAUSES OF ACTION

 5                       COUNT I: Violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

 6                                      (Brought by the Class Against Google)

 7           183.     Plaintiﬀ hereby incorporates by reference the preceding paragraphs as if they were fully

 8   set forth herein.

 9           184.        e relevant geographic market is defined to include the United States, or in the

10   alternative, the principally English-speaking countries of the United States, Canada, the United Kingdom,

11   and Australia.

12           185.        e relevant market is the Publisher Ad Server Market.

13           186.     Google possesses market power in the Publisher Ad Server Market, regardless of the

14   scope of the geographic market. Google has obtained, enhanced, and maintained dominance in the

15   Publisher Ad Server Market through the Scheme alleged herein to impair and foreclose competition in

16   that market in several ways, including, without limitation, (a) acquiring businesses that gave Google

17   substantial footholds at each level of the Ad Tech Stack, (b) using data amassed through its consumer

18   services (e.g., Search, Gmail, YouTube, Maps, Chrome, Android OS) to lock-in substantial advertiser

19   demand (tying advertiser ad tech services to Google’s data services), (c) using its control over such

20   advertiser demand to require its advertisers to bid only in Google’s own auctions, (d) tying its publisher

21   ad server services to Google’s ad auctions—thus requiring Publishers who want to access Google’s

22   advertiser demand to use Google’s ad server services, (e) impairing actual and potential rivals’ ability to

23   amass datasets that would enable them to better compete with Google, and (f) making an agreement to

24   cooperate instead if compete with its largest potential competitor.

25           187.     As a direct and proximate result of Google’s continuing violation of Section 2 of the

26   Sherman Act, Plaintiﬀ and members of the Class have suﬀered injury and damages in the form of

27   artificially suppressed advertising revenues in amounts to be proven at trial.

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 1           188.    Plaintiﬀ, on behalf of itself and other members of the Class, seek money damages from

 2   Google for these violations.    ese damages represent the amount of Google’s overcharges and additional

 3   advertising revenues Publishers in the Class would have received absent Google’s anticompetitive

 4   Scheme alleged herein. Damages will be quantified on a class-wide basis.       ese actual damages should

 5   be trebled under Section 4 of the Clayton Act, 15 U.S.C. § 15.

 6           189.    Plaintiﬀ, on behalf of itself and other members of the Class seek injunctive relief barring

 7   Google from engaging in the anticompetitive Scheme alleged herein.        e violations set forth above, and

 8   the eﬀects thereof, are continuing and will continue unless injunctive relief is granted.

 9           190.    Plaintiﬀ’s and Class members’ injuries are of the type the antitrust laws were designed to

10   prevent, and flow directly from Google’s unlawful conduct.

11                       COUNT II: Violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

12                                     (Brought by the Class Against Google)

13           191.    Plaintiﬀ hereby incorporates by reference the preceding paragraphs as if they were fully

14   set forth herein.

15           192.    Google and Facebook, Inc. entered into and carried out an unlawful market allocation and

16   bid-rigging agreement in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

17           193.    In 2017, Facebook announced its support for the auction process known as “header

18   bidding” to signal to Google that Facebook intended to compete head-to-head with Google in the

19   Publisher Ad Server Market.

20           194.    Combined with Facebook’s significant pool of advertisers and unique dataset derived from

21   its third-party cookies and Social Plugins (e.g., the “Like” and “Share” buttons on Publishers pages) and

22   Facebook’s social network platform, Facebook’s endorsement of header bidding (which Publishers prefer

23   to Google’s systems) represented a significant competitive threat to Google’s market dominance.

24           195.    Following Facebook’s announcement, Google and Facebook commenced negotiations into

25   an agreement not to compete.

26           196.    In September 2018, Google and Facebook reached an agreement—which Google code-

27   named “Jedi Blue.”

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 1          197.    Pursuant to the Jedi Blue agreement, Facebook would not come into the Publisher Ad

 2   Server Market supporting header bidding, and would use Google’s ad tech tools.

 3          198.       rough Jedi Blue, Facebook committed to spending at least $500 million annually on

 4   Google’s auctions and Google, in return, committed to ensuring that Facebook would win a fixed

 5   percentage of auctions.

 6          199.    Facebook’s agreement not to compete with Google for Publishers’ business and its

 7   agreement to spend $500 million annually reinforced Google’s market dominance in the Publisher Ad

 8   Server Market. Absent the Jedi Blue agreement, Facebook would have competed for Publishers’ ad

 9   server business which, in turn, would have created price competition in the market that does not

10   otherwise exist. Further, absent the Jedi Blue agreement, Facebook’s advertising dollars would have been

11   available to other ad tech providers through competition. Instead, the Jedi Blue agreement ensured that

12   Google would not have to compete with its most significant potential competitor and that it would control

13   significant additional advertising demand that further cemented Google’s market share in the Publisher

14   Ad Server Market.

15          200.    Further, because Google guaranteed that Facebook would win a fixed percentage of

16   auctions, the Jedi Blue agreement was not only a market allocation agreement, but also constitutes bid-

17   rigging. Indeed, assured of winning a fixed percentage of auctions, Facebook would not need to bid as

18   high to win the auctions, thus suppressing auction revenues and preventing advertisers that should have

19   won more auctions from doing so.

20          201.    Google’s illicit market allocation and bid-rigging agreement with Facebook caused

21   Publishers’ injury.

22          202.    Indeed, by agreeing not to compete in the Publisher Ad Server Market, Google cemented

23   its dominance in the market and charged Publishers supracompetitive prices for its ad server services.

24          203.    Further, by guaranteeing that Facebook would a fixed percentage of auctions, Google’s

25   agreement with Facebook suppressed auction revenues Publishers received for their ad inventory.

26          204.    Google entered into the agreement with the purpose and intent of restraining trade in the

27   Publisher Ad Server Market. As one internal Google email put it, the endgame was to “collaborate when

28   necessary to maintain the status quo….” of Google continuing to dominate the market.

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 1          205.    Facebook too sought to reap supracompetitive rewards without competition. Facebook’s

 2   negotiating team sent an email to Facebook CEO Mark Zuckerberg saying that the company faced

 3   options: “invest hundreds more engineers” and spend billions of dollars to lock up inventory, exit the

 4   business, or do the deal with Google. Ultimately, Facebook and Google did the deal, ensuring that

 5   Google could charge Publishers supracompetitive prices and suppress the revenues Publishers could

 6   generate on their content to Google’s advantage.

 7      XIV. DEMAND FOR JUDGMENT

 8          206.    WHEREFORE, Plaintiﬀ, on behalf of itself and the Class, respectfully asks the Court for

 9   a judgment that:

10                  a. Certifies the Class as a class action pursuant to Fed. R. Civ. P. 23(a), 23(b)(2), and

11                      23(b)(3), and appoints Plaintiﬀ and its attorneys as class representatives and class
12
                        counsel, respectively;
13
                    b. Awards Plaintiﬀ and each member of the Class treble the amount of damages actually
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                        sustained by reason of the antitrust violations alleged herein, plus the reasonable costs
15
                        of this action including attorneys’ fees;
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17                  c. Orders such equitable relief as is necessary to correct for the anticompetitive market

18                      eﬀects caused by the unlawful conduct of Defendant;
19                  d. Awards such other relief the Court deems reasonable and appropriate.
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        XV.     JURY TRIAL DEMAND
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            207.    Plaintiﬀ hereby requests a jury trial for all issues so triable.
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